






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-01-00363-CR







Carlos Alberto Mendoza, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 403RD JUDICIAL DISTRICT


NO. 5010083, HONORABLE MICHAEL J. MCCORMICK, JUDGE PRESIDING







A jury found appellant Carlos Alberto Mendoza guilty of possessing a deadly weapon
in a penal institution and assessed punishment at imprisonment for four years.  See Tex. Pen. Code
Ann. § 46.10 (West 1994).  Appellant's court-appointed attorney filed a brief concluding that the
appeal is frivolous and without merit.  The brief meets the requirements of Anders v. California, 386
U.S. 738 (1967), by advancing a contention which counsel says might arguably support the appeal. 
See also Penson v. Ohio, 488 U.S. 75 (1988); High v. State, 573 S.W.2d 807 (Tex. Crim. App.
1978); Currie v. State, 516 S.W.2d 684 (Tex. Crim. App. 1974); Jackson v. State, 485 S.W.2d 553
(Tex. Crim. App. 1972); Gainous v. State, 436 S.W.2d 137 (Tex. Crim. App. 1969).  

A copy of counsel's brief was delivered to appellant, and appellant was advised of
his right to examine the appellate record and to file a pro se brief.  No pro se brief has been filed.

In his arguable point, counsel urges that the evidence is legally insufficient to sustain
the conviction because appellant denied possessing the weapon, a shank.  Other evidence shows,
however, that the shank was in appellant's property box in his jail cell.  Resolution of the conflicting
evidence was for the jury, as trier of fact.

We have reviewed the record and counsel's brief and agree that the appeal is frivolous
and without merit.  We find nothing in the record that might arguably support the appeal.

The judgment of conviction is affirmed.



				                                                                                   

				David Puryear, Justice

Before Chief Justice Aboussie, Justices B. A. Smith and Puryear

Affirmed

Filed:   January 10, 2002

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